






In The



Court of Appeals



Ninth District of Texas at Beaumont


____________________



NO. 09-04-102 CR


____________________



WILLIE EUGENE CROCKETT, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 359th District Court


Montgomery County, Texas


Trial Cause No. 02-08-05757 CR






MEMORANDUM OPINION (1)


	Our order of May 20, 2004, is withdrawn, and the appeal is hereby reinstated.

	We have before the Court a motion from the appellant, Willie Eugene Crockett, to
withdraw his appeal pursuant to Tex. R. App. P. 42.2.  The motion is signed by appellant
personally and filed by his attorney of record.  No opinion has issued in this appeal.

	The motion is GRANTED and the appeal is therefore DISMISSED.	

									PER CURIAM


Opinion Delivered June 24, 2004 

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


